                      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 1 of 82
Debtor      RunItOneTime LLC                                                         Case number (if known)
           Name




Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                               ☐Check if this is an
Case number (if known):                                      Chapter       11                                                      amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/25

      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
      and the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
      Individuals, is available.



1.   Debtor’s Name                     RunItOneTime LLC


                                       Maverick Gaming LLC
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)         XX-XXXXXXX                                              _______________________________________________


4. Debtor’s address                    Principal place of business                                Mailing address, if different from principal place
                                                                                                  of business
                                       2926 Montessouri Street                                    12530 NE 144th Street
                                       Number            Street                                   Number         Street




                                           Las Vegas              Nevada        89117               Kirkland               WA                98034
                                       City                        State        Zip Code          City                       State           Zip Code


                                                                                                  Location of principal assets, if different from
                                                                                                  principal place of business
                                       Clark
                                       County                                                     Number         Street




                                                                                                  City                          State    Zip Code




5. Debtor’s website (URL)              https://www.maverickgaming.com/

6.   Type of debtor                       ☒Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐Partnership (excluding LLP)

                                          ☐Other. Specify:




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 1
                        Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 2 of 82
Debtor        RunItOneTime LLC                                                    Case number (if known)
            Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                           ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             7132 (Gambling Industries) ________________________________________________________

8. Under which chapter of the             Check One:
   Bankruptcy Code is the                 ☐ Chapter 7
   debtor filing?
                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                     ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                       affiliates) are less than $3,424,000 (amount subject to adjustment on 4/01/28 and every 3 years
                                                       after that).
                                                     ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
                                                       small business debtor, attach the most recent balance sheet, statement of operations, cash-
                                                       flow statement, and federal income tax return or if all of these documents do not exist, follow
                                                       the procedure in 11 U.S.C. § 1116(1)(B).
                                                     ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                       proceed under Subchapter V of Chapter 11.
                                                     ☐ A plan is being filed with this petition.

                                                     ☐ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                       accordance with 11 U.S.C. § 1126(b).
                                                     ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                       and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934.
                                                       File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under
                                                       Chapter 11 (Official Form 201A) with this form.
                                                     ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                           ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes    District                          When                      Case number
   within the last 8 years?                                                                 MM/DD/YYYY
     If more than 2 cases, attach a             District                          When                      Case number
     separate list.                                                                         MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes               See Attached Rider 1                             Relationship
                                                Debtor
    business partner or an
    affiliate of the debtor?                    District
     List all cases. If more than 1,                                                                        When:           07/14/2025
     attach a separate list.                                                                                                MM / DD / YYYY
                                                Case number, if known _______________________


     Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                    Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 3 of 82
Debtor     RunItOneTime LLC                                                       Case number (if known)
          Name



11. Why is the case filed in this    Check all that apply:
    district?
                                          ☐ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          ☒ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have       ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                          Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                                 ☐   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the
                                          hazard?
                                                 ☐    It needs to be physically secured or protected from the weather.

                                                 ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).
                                                 ☐   Other


                                                 Where is the property?
                                                                                   Number          Street



                                                                                   City                                  State      Zip Code



                                                 Is the property insured?
                                                  ☐ No

                                                  ☐ Yes. Insurance agency

                                                           Contact name
                                                           Phone




                     Statistical and administrative information

13. Debtor's estimation of          Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                   ☐1-49                             ☐1,000-5,000                           ☒25,001-50,000
    creditors*                            ☐50-99                            ☐5,001-10,000                          ☐50,001-100,000
*Consolidated for all                     ☐100-199                          ☐10,001-25,000                         ☐More than 100,000
Debtors.                                  ☐200-999

15. Estimated assets*                     ☐$0-$50,000                       ☐$1,000,001-$10 million                ☐$500,000,001-$1 billion
                                          ☐$50,001-$100,000                 ☐$10,000,001-$50 million               ☐$1,000,000,001-$10 billion
*Consolidated for all
Debtors.                                  ☐$100,001-$500,000                ☐$50,000,001-$100 million              ☐$10,000,000,001-$50 billion
                                          ☐$500,001-$1 million              ☒$100,000,001-$500 million             ☐More than $50 billion

16. Estimated liabilities*               ☐$0-$50,000                        ☐$1,000,001-$10 million               ☐$500,000,001-$1 billion
                                         ☐$50,001-$100,000                  ☐$10,000,001-$50 million              ☐$1,000,000,001-$10 billion
*Consolidated for all
Debtors.                                 ☐$100,001-$500,000                 ☐$50,000,001-$100 million             ☐$10,000,000,001-$50 billion
                                         ☐$500,001-$1 million               ☒$100,000,001-$500 million            ☐More than $50 billion


   Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 3
                   Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 4 of 82
Debtor    RunItOneTime LLC                                                        Case number (if known)
         Name



                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of   •      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                   •      I have been authorized to file this petition on behalf of the debtor.
                                   •      I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                       I declare under penalty of perjury that the foregoing is true and correct.

                                    Executed on          07/14/2025
                                                          MM/ DD / YYYY


                                           /s/ Jeff Seery                                              Jeff Seery
                                          Signature of authorized representative of debtor              Printed name

                                          Title   Chief Restructuring Officer




18. Signature of attorney                 /s/ Timothy A. (“Tad”) Davidson II                           Date         07/14/2025
                                          Signature of attorney for debtor                                          MM/DD/YYYY



                                          Timothy A. (“Tad”) Davidson II

                                          Hunton Andrews Kurth LLP
                                          Firm name
                                          600 Travis Street, Suite 4200
                                          Number                   Street
                                          Houston                                                                 TX              77002
                                          City                                                                    State             ZIP Code
                                          (713) 220-4200                                                          taddavidson@hunton.com
                                          Contact phone                                                               Email address
                                          24012503                                             TX
                                          Bar number                                          State




   Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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                                             RIDER 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11
of title 11 of the United States Code in the United States Bankruptcy Court for the Southern District
of Texas. Contemporaneously with the filing of their voluntary petitions, the Debtors are filing a
motion with the Court requesting that their chapter 11 cases be consolidated for procedural
purposes only and jointly administered.


                      Entity Name                             Federal Employee Identification
                                                                      Number (EIN)

 Maverick Elko LLC                                          XX-XXXXXXX
 Maverick NV LLC                                            XX-XXXXXXX
 Maverick Wendover LLC                                      XX-XXXXXXX
 CCI Leasing LLC                                            XX-XXXXXXX
 Wendover Transportation, LLC                               XX-XXXXXXX
 Utah Trailways Charter Bus Company, LLC                    XX-XXXXXXX
 Casino Caravans, Inc.                                      XX-XXXXXXX
 Maverick Design LLC                                        XX-XXXXXXX
 E.GADS, LLC                                                XX-XXXXXXX
 Maverick Colorado LLC                                      XX-XXXXXXX
 Maverick Z Casinos LLC                                     XX-XXXXXXX
 Colorado MG 1031 LLC                                       N/A
 Maverick Washington LLC                                    XX-XXXXXXX
 Maverick Gold LLC                                          XX-XXXXXXX
 Maverick Roman LLC                                         XX-XXXXXXX
 Maverick American LLC                                      XX-XXXXXXX
 Maverick Indianola LLC                                     N/A
 Maverick Caribbean LLC                                     XX-XXXXXXX
 Maverick Wizards LLC                                       XX-XXXXXXX
 Maverick Evergreen LLC                                     XX-XXXXXXX
 Maverick All Star LLC                                      XX-XXXXXXX
 15743 Ambaum LLC                                           XX-XXXXXXX
 Maverick Acquisitions Canada ULC                           XX-XXXXXXX
 Myers LLC                                                  XX-XXXXXXX
 Nevada Gold & Casinos, Inc                                 XX-XXXXXXX
 Skyway Center LLC                                          XX-XXXXXXX
 The Royal Club Limited Liability Company                   XX-XXXXXXX
 Great American Gaming Corporation                          XX-XXXXXXX
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 6 of 82




                  Entity Name                  Federal Employee Identification
                                                       Number (EIN)

NG Washington II Holdings, LLC               XX-XXXXXXX
NG Washington, LLC                           XX-XXXXXXX
NG Washington III, LLC                       XX-XXXXXXX
NG Washington II, LLC                        XX-XXXXXXX
Evergreen Entertainment Corporation          XX-XXXXXXX
Grand Central Properties Tukwila LLC         XX-XXXXXXX
Grand Central Casino, Inc.                   XX-XXXXXXX
Grans Central Properties Tacoma LLC          XX-XXXXXXX
Pair O' Dice Investments LLC                 XX-XXXXXXX
Grand Central Properties Everett LLC         XX-XXXXXXX
Washington Gaming, Inc.                      XX-XXXXXXX
14040 Gaming, LLC                            XX-XXXXXXX
Gaming Consultants, Inc                      XX-XXXXXXX
Gaming Management, Inc                       XX-XXXXXXX
Puget Sound Gaming, LLC                      XX-XXXXXXX
Riverside Casino, Inc                        XX-XXXXXXX
Epstein Gaming LLC                           XX-XXXXXXX
La Center Gaming, LLC                        XX-XXXXXXX
Pete's Flying Aces, Inc.                     XX-XXXXXXX
Tacoma Casino, L.L.C.                        XX-XXXXXXX
Maverick Kirkland LLC                        XX-XXXXXXX
Maverick Kirkland II LLC                     XX-XXXXXXX
Maverick Tukwila LLC                         XX-XXXXXXX
Maverick Lakewood LLC                        XX-XXXXXXX
Maverick Yakima LLC                          XX-XXXXXXX
Wendover Resorts Operator, LLC               XX-XXXXXXX
Red Garter Operator, LLC                     XX-XXXXXXX
Wendover Nugget Operator, LLC                XX-XXXXXXX
Elko Resorts Operator, LLC                   XX-XXXXXXX
Gold County Operator, LLC                    XX-XXXXXXX
Red Lion Operator, LLC                       XX-XXXXXXX
High Desert Operator LLC                     XX-XXXXXXX
Colorado Resorts Operator LLC                XX-XXXXXXX
Johnny Z Casino Operator LLC                 XX-XXXXXXX
Grand Z Casino Operator LLC                  XX-XXXXXXX
Z Casino Black Hawk Operator LLC             XX-XXXXXXX
RunItOneTime LLC                             XX-XXXXXXX
Maverick Poker Operator LLC                  XX-XXXXXXX
RunItOneTime Texas LLC                       XX-XXXXXXX
RunItOneTime Holdco, Inc.                    XX-XXXXXXX
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                  )
 In re:                                           )     Chapter 11
                                                  )
 RunItOneTime LLC,                                )     Case No. 25-___________(___)
                                                  )
                                                  )
                         Debtor.                  )
                                                  )

                           CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following are corporations, other than a government unit, that directly or indirectly own 10%

or more of any class of the debtor’s equity interest:

                                                         Approximate Percentage of Equity
               Equity Interest Holder
                                                                 Interests Held

 RunItOneTime Holdco, Inc.                                              100%
           Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 8 of 82




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                   )
 In re:                                            )      Chapter 11
                                                   )
 RunItOneTime LLC,                                 )      Case No. 25-___________(___)
                                                   )
                                                   )
                          Debtor.                  )
                                                   )

                           LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-

captioned debtor and debtor in possession (the “Debtor”) respectfully represents that the following

is the list of holders of the Debtor’s sole class of equity or membership interests:

          ☐ There are no equity security holders or corporations that directly or indirectly own 10%
          or more of any class of the Debtor’s equity interest.

          ☒ The following are the Debtor’s equity security holders (list holders of each class,
          showing the number and kind of interests registered in the name of each holder, and the
          last known address or place of business of each holder):
  Name and Last Known Address of Place of       Kind/Class of Interest   Percentage of Interests Held
            Business of Holder
        RunItOneTime Holdco, Inc.
           12530 NE 144th Street                       LLC Interest                    100%
     Kirkland, Washington 98034-4508
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     Fill in this information to identify the case:
     Debtor name: RunItOneTime LLC, et al.
     United States Bankruptcy Court for the: Southern District of Texas
     Case number (If known): ______________                                                                                                                                                    
                                                                                                                                                                                                   Check if this is an amended filing

      Official Form 204

      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                           12/15


     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
     defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
     claims.

                     Name of creditor                Complete mailing address, and                 Name, telephone number, and email                   Nature of the claim Indicate if claim                    Amount of unsecured claim
                                                    employee, agents, or department                   address of creditor contact                      (for example, trade   is contingent,
                                                                                                                                                                                               if the claim is fully unsecured, fill in only unsecured claim
                                                          familiar with claim                                                                          debts, bank loans, unliquidated, or
                                                                                                                                                                                             amount. If claim is partially secured, fill in total claim amount
                                                                                                                                                      professional services,    disputed       and deduction for value of collateral or setoff to calculate
                                                                                                                                                         and government                                               unsecured claim.
                                                                                                                                                            contracts)                         Total claim, if        Deduction for Unsecured claim
                                                                                                                                                                                                   partially secured          value of
                                                                                                                                                                                                                            collateral or
                                                                                                                                                                                                                                setoff
   1 Project Evergreen WA LLC                   Project Evergreen WA LLC                          Project Evergreen WA LLC                           Rent                                                                                     $7,422,778.23
                                                Attn: Drew Wides                                  Attn: Drew Wides
                                                30 N LaSalle Street                               PHONE: (833) 695-5463
                                                Chicago, IL 60602                                 FAX: N/A
                                                                                                  EMAIL: drew.wides@blueowl.com
   2 Aristocrat Technologies Inc                Aristocrat Technologies Inc                       Aristocrat Technologies Inc                        Gaming Participation &                                                                   $1,443,301.87
                                                Attn: Setsuko Kennedy                             Attn: Setsuko Kennedy                              Equipment Fees
                                                PO Box 849540                                     PHONE: (702) 270-1000
                                                Los Angeles, CA 90084                             FAX: (702) 270-1001
                                                                                                  EMAIL: Amy.Holt@aristocrat.com
   3 AG Park Place LLC - Series 1               AG Park Place LLC - Series 1                      AG Park Place LLC - Series 1                       Rent                                                                                     $1,422,397.16
                                                Attn: Brian Sherer                                Attn: Brian Sherer
                                                245 Park Avenue                                   PHONE: (212) 692-2000
                                                New York, NY 10167                                FAX: (212) 883-4141
                                                                                                  EMAIL: bshearer@angelogordon.com
   4 Paladin Technologies Inc.                  Paladin Technologies Inc.                         Paladin Technologies Inc.                          Information Technology                                                                    $859,872.75
                                                Attn: Jessica Duenas                              Attn: Jessica Duenas
                                                13000 Gregg St                                    PHONE: (714) 940-1783
                                                Poway, CA 92064                                   FAX: N/A
                                                                                                  EMAIL: jduenas@paladintechnologies.com
   5 KONE INC                                   KONE INC                                          KONE INC                                           Repairs & Maintenance                                                                     $739,225.45
                                                Attn: General Counsel                             Attn: General Counsel
                                                P.O Box 102425                                    PHONE: (630) 577-1650
                                                Pasadena, CA 91189                                FAX: N/A
                                                                                                  EMAIL: accountsreceivable.ssc@kone.com
   6 Everi Games Inc                            Everi Games Inc                                   Everi Games Inc                                    Gaming Participation &                                                                    $512,741.10
                                                Attn: General Counsel                             Attn: General Counsel                              Equipment Fees
                                                PO Box 206206                                     PHONE: (702) 855-3000
                                                Dallas, TX 75320                                  FAX: N/A
                                                                                                  EMAIL: accounts.receivable@everi.com
   7 Sysco Seattle                              Sysco Seattle                                     Sysco Seattle                                      Food & Beverage                                                                           $471,675.95
                                                Attn: Gary Hogan                                  Attn: Gary Hogan
                                                PO Box 97054                                      PHONE: (206) 622-2261
                                                Kent, WA 98064                                    FAX: N/A
                                                                                                  EMAIL: gary.hogan@sysco.com
   8 Sonesta RL Hotels Franchising, Inc.        Sonesta RL Hotels Franchising, Inc.               Sonesta RL Hotels Franchising, Inc.                Advertising & Marketing                                                                   $396,801.83
                                                Attn: Grenda Cabrera                              Attn: Grenda Cabrera
                                                PO Box 830447                                     PHONE: (617) 421-5400
                                                Philadelphia, PA 19182                            FAX: N/A
                                                                                                  EMAIL: grenda.cabrera@sonesta.com
   9 Starbucks Corporation                      Starbucks Corporation                             Starbucks Corporation                              Food & Beverage                                                                           $335,926.80
                                                Attn: General Counsel                             Attn: General Counsel
                                                PO Box 74008016                                   PHONE: (206) 447-1575
                                                Chicago, IL 60674                                 FAX: N/A
                                                                                                  EMAIL: ARInvoice@starbucks.com
  10 Gibson, Dunn & Crutcher LLP                Gibson, Dunn & Crutcher LLP                       Gibson, Dunn & Crutcher LLP                        Professional Services                                                                     $300,000.00
                                                Attn: Jeanette Krise                              Attn: Jeanette Krise
                                                333 South Grand Ave                               PHONE: (213) 229-7000
                                                Los Angeles, CA 90071                             FAX: (213) 229-7520
                                                                                                  EMAIL: jkrise@gibsondunn.com
  11 City of Shoreline                          City of Shoreline                                 City of Shoreline                                  Tax                                                                                       $270,575.04
                                                Attn: General Counsel                             Attn: General Counsel
                                                PO Box 84226                                      PHONE: (206) 801-2230
                                                Seattle, WA 98124                                 FAX: (206) 546-7868
                                                                                                  EMAIL: mking@shorelinewa.gov
  12 King County Treasury                       King County Treasury                              King County Treasury                               Tax                                                                                       $269,067.97
                                                Attn: General Counsel                             Attn: General Counsel
                                                201 S Jackson St #710                             PHONE: (206) 296-4290
                                                Seattle, WA 98104                                 FAX: (206) 296-7345
                                                                                                  EMAIL: Assessor.info@kingcounty.gov
  13 Littler Mendelson PC                       Littler Mendelson PC                              Littler Mendelson PC                               Professional Services                                                                     $247,837.62
                                                Attn: General Counsel                             Attn: General Counsel
                                                333 Bush St                                       PHONE: (415) 433-1940
                                                San Francisco, CA 94104                           FAX: N/A
                                                                                                  EMAIL: mmccollough@littler.com
  14 Davon Evans DBA Cleanco Bins, LLC          Davon Evans DBA Cleanco Bins, LLC                 Davon Evans DBA Cleanco Bins, LLC                  Repairs & Maintenance                                                                     $225,225.00
                                                Attn: Davon Evans                                 Attn: Davon Evans
                                                4547 Rainier Ave So                               PHONE: (206) 698-2467
                                                Seattle, WA 98118                                 FAX: N/A
                                                                                                  EMAIL: cleancobins@gmail.com




Official Form 204
                                                                                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                          Page - 1
                                            Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 10 of 82



                    Name of creditor                     Complete mailing address, and                  Name, telephone number, and email                   Nature of the claim Indicate if claim                    Amount of unsecured claim
                                                        employee, agents, or department                    address of creditor contact                      (for example, trade   is contingent,
                                                                                                                                                                                                    if the claim is fully unsecured, fill in only unsecured claim
                                                              familiar with claim                                                                           debts, bank loans, unliquidated, or
                                                                                                                                                                                                  amount. If claim is partially secured, fill in total claim amount
                                                                                                                                                           professional services,    disputed       and deduction for value of collateral or setoff to calculate
                                                                                                                                                              and government                                               unsecured claim.
                                                                                                                                                                 contracts)                         Total claim, if        Deduction for Unsecured claim
                                                                                                                                                                                                       partially secured        value of
                                                                                                                                                                                                                              collateral or
                                                                                                                                                                                                                                  setoff
  15 RxBenefits, Inc.                               RxBenefits, Inc.                                   RxBenefits, Inc.                                   Payroll & Benefits                                                                       $220,640.63
                                                    Attn: Serena Brooks                                Attn: Serena Brooks
                                                    3700 Colonnade Parkway                             PHONE: (205) 980-8384
                                                    Birmingham, AL 35243                               FAX: (205) 980-2354
                                                                                                       EMAIL: sbrooks@rxbenefits.com
  16 Sunic's Inc. DBA Sun Food Trading Co           Sunic's Inc. DBA Sun Food Trading Co               Sunic's Inc. DBA Sun Food Trading Co               Food & Beverage                                                                          $207,510.57
                                                    Attn: General Counsel                              Attn: General Counsel
                                                    4715 6th Ave. S                                    PHONE: (206) 682-8823
                                                    Seattle, WA 98108                                  FAX: N/A
                                                                                                       EMAIL: joe@sunfoodtrading.com
  17 City of Central                                City of Central                                    City of Central                                    Tax                                                                                      $197,762.19
                                                    Attn: General Counsel                              Attn: General Counsel
                                                    PO Box 249                                         PHONE: (303) 582-5251
                                                    Central City, CO 80427                             FAX: (303) 582-3424
                                                                                                       EMAIL: ada@cityofcentral.co
  18 IGT                                            IGT                                                IGT                                                Gaming Participation &                                                                   $197,669.80
                                                    Attn: Kyle Salasky                                 Attn: Kyle Salasky                                 Equipment Fees
                                                    9295 Prototype Drive                               PHONE: (866) 777-8448
                                                    Reno, NV 89521                                     FAX: 31 (0)20 258 9701
                                                                                                       EMAIL: Maribel.ManzanoRuiz@IGT.com;
                                                                                                       kyle.salasky@IGT.com
  19 Sysco Intermountain                            Sysco Intermountain                                Sysco Intermountain                                Food & Beverage                                                                          $197,248.64
                                                    Attn: Gary Hogan                                   Attn: Gary Hogan
                                                    PO BOX 190                                         PHONE: (801) 563-6300
                                                    West Jordan, UT 84084                              FAX: N/A
                                                                                                       EMAIL: gary.hogan@sysco.com
  20 Harris Manufacturing Inc                       Harris Manufacturing Inc                           Harris Manufacturing Inc                           Repairs & Maintenance                                                                    $192,759.55
                                                    Attn: General Counsel                              Attn: General Counsel
                                                    9143 Phillips Hwy                                  PHONE: N/A
                                                    Ste 420                                            FAX: N/A
                                                    Jacksonville, FL 32256-1381                        EMAIL: scott@HarrisMfg.com
  21 Swire Pacific Holdings, Inc. DBA Swire Coca-   Swire Pacific Holdings, Inc.                       Swire Pacific Holdings, Inc. DBA Swire Coca-       Food & Beverage                                                                          $184,863.82
     Cola, USA                                      DBA Swire Coca-Cola, USA                           Cola, USA
                                                    Attn: General Counsel                              Attn: General Counsel
                                                    PO Box 3743                                        PHONE: (800) 497-2042
                                                    Seattle, WA 98214-3734                             FAX: (801) 816-5368
                                                                                                       EMAIL: swirearsupport@swirecc.com
  22 Jefder Maintenance Services Inc                Jefder Maintenance Services Inc                    Jefder Maintenance Services Inc                    Repairs & Maintenance                                                                    $174,126.00
                                                    Attn: General Counsel                              Attn: General Counsel
                                                    2345 Wander St                                     PHONE: N/A
                                                    Chula Vista, CA 91915-2415                         FAX: N/A
                                                                                                       EMAIL: efren.delgado@ssijefder.com
  23 TekLinks Inc DBA C Spire Business              TekLinks Inc DBA C Spire Business                  TekLinks Inc DBA C Spire Business                  Information Technology                                                                   $171,489.11
                                                    Attn: Kelly Luber                                  Attn: Kelly Luber
                                                    PO Box 748168                                      PHONE: (601) 255-0098
                                                    Atlanta, GA 30374                                  FAX: N/A
                                                                                                       EMAIL: kjsmith@cspire.com;
                                                                                                       Kluber@cspire.com
  24 Kuo Kau Paper Products Co., Ltd                Kuo Kau Paper Products Co., Ltd                    Kuo Kau Paper Products Co., Ltd                    Supplies                                                                                 $168,512.44
                                                    Attn: Angel Otsuka                                 Attn: Angel Otsuka
                                                    No. 31, Tien Shui Road                             PHONE: 886-2-25595660
                                                    Taipei City, 10350                                 FAX: 886-2-25595668
                                                    Taiwan                                             EMAIL: Angel@queenplayingcard.com
  25 Galaxy Gaming, Inc                             Galaxy Gaming, Inc                                 Galaxy Gaming, Inc                                 Gaming Participation &                                                                   $167,925.51
                                                    Attn: General Counsel                              Attn: General Counsel                              Equipment Fees
                                                    Dept N811                                          PHONE: (702) 939-3254
                                                    Salt Lake City, UT 81430                           FAX: N/A
                                                                                                       EMAIL: info@galaxygaming.com
  26 Interblock USA LC                              Interblock USA LC                                  Interblock USA LC                                  Gaming Participation &                                                                   $167,441.79
                                                    Attn: Marie Magdaleno                              Attn: Marie Magdaleno                              Equipment Fees
                                                    PO Box 511636                                      PHONE: (702) 260-1384
                                                    Los Angeles, CA 90051-8191                         FAX: N/A
                                                                                                       EMAIL:
                                                                                                       marie.magdaleno@interblockgaming.com
  27 Sysco Denver                                   Sysco Denver                                       Sysco Denver                                       Food & Beverage                                                                          $154,505.15
                                                    Attn: Gary Hogan                                   Attn: Gary Hogan
                                                    PO Box 5566                                        PHONE: (303) 298-0997
                                                    Denver, CO 80217                                   FAX: (303) 480-3994
                                                                                                       EMAIL: gary.hogan@sysco.com
  28 Pierce County Assessor-Treasurer DBA Pierce    Pierce County Assessor-Treasurer                   Pierce County Assessor-Treasurer DBA Pierce        Tax                                                                                      $136,683.64
     County Finance                                 DBA Pierce County Finance                          County Finance
                                                    Attn: Mike Lonergan                                Attn: Mike Lonergan
                                                    PO Box 11621                                       PHONE: (253) 798-7285
                                                    Tacoma, WA 98411-6621                              FAX: (253) 798-6699
                                                                                                       EMAIL: pcbudget@co.pierce.wa.us
  29 City of Mountlake Terrace                      City of Mountlake Terrace                          City of Mountlake Terrace                          Tax                                                                                      $108,785.61
                                                    Attn: General Counsel                              Attn: General Counsel
                                                    PO Box 3694                                        PHONE: (425) 776-1161
                                                    Seattle, WA 98124                                  FAX: (425) 775-0420
                                                                                                       EMAIL: businesslicense@mltwa.gov
  30 Canon Financial Services, Inc                  Canon Financial Services, Inc                      Canon Financial Services, Inc                      Information Technology                                                                   $106,096.61
                                                    Attn: General Counsel                              Attn: General Counsel
                                                    14904 Collections Center Drive                     PHONE: (800) 220-0330
                                                    Chicago, IL 60693-0149                             FAX: (856) 813-5122
                                                                                                       EMAIL: atsivilashvili@cfs.canon.com




Official Form 204
                                                                                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                          Page - 2
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   Fill in this information to identify the case and this filing:

   Debtor Name RunItOneTime LLC

   United States Bankruptcy Court for the:                  Southern District of Texas
                                                                                                    (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule ____
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration Corporate Ownership Statement and List of Equity Security Holders
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                    /s/ Jeff Seery
                                         07/14/2025
                                         MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                   Jeff Seery
                                                                                   Printed name
                                                                                   Chief Restructuring Officer
                                                                                   Position or relationship to debtor




Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
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                         UNANIMOUS WRITTEN CONSENT
                          OF THE APPROVING PARTY OF
                         EACH COMPANY LISTED BELOW

                                         July 14, 2025

        The undersigned, being (a) all the members of the Special Committee (as defined below),
(b) the sole member, and/or (c) the sole manager (in each case, an “Approving Party” and,
collectively, the “Approving Parties”), of the following corporations, limited liability companies,
and unlimited liability companies:

Maverick Entities

       (1)     RunItOneTime HoldCo, Inc., a Washington corporation;
       (2)     RunItOneTime LLC, a Washington limited liability company;
       (3)     RunItOneTime Texas LLC, a Texas limited liability company;
       (4)     Maverick Washington LLC, a Nevada limited liability company;
       (5)     Maverick Colorado LLC, a Nevada limited liability company;
       (6)     Maverick NV LLC, a Nevada series limited liability company;
       (7)     Maverick Design LLC, a Nevada limited liability company;
       (8)     Maverick Gold LLC, a Nevada limited liability company;
       (9)     Maverick Roman LLC, a Nevada limited liability company;
       (10)    Maverick American LLC, a Nevada limited liability company;
       (11)    Maverick Indianola LLC, a Nevada limited liability company;
       (12)    Maverick Caribbean LLC, a Nevada limited liability company;
       (13)    Maverick Wizards LLC, a Nevada limited liability company;
       (14)    Maverick Evergreen LLC, a Nevada limited liability company;
       (15)    Maverick All Star LLC, a Nevada limited liability company;
       (16)    Maverick Z Casinos LLC, a Nevada limited liability company;
       (17)    Maverick Elko LLC, a Nevada limited liability company;
       (18)    Maverick Wendover LLC, a Nevada limited liability company;
       (19)    E.GADS, LLC, a Nevada limited liability company;
       (20)    Nevada Gold & Casinos, Inc., a Nevada corporation;
       (21)    Skyway Center LLC, a Washington limited liability company;
       (22)    The Royal Club Limited Liability Company, a Washington limited liability
               company;
       (23)    Great American Gaming Corporation, a Washington corporation;
       (24)    15743 Ambaum LLC, a Washington limited liability company;
       (25)    Maverick Acquisitions Canada ULC, a British Columbia unlimited liability
               company;
       (26)    Myers LLC, a Washington limited liability company;
       (27)    Colorado MG 1031 LLC, a Colorado limited liability company;
       (28)    CCI Leasing LLC, a Utah limited liability company;
       (29)    Wendover Transportation LLC, a Nevada limited liability company;
       (30)    Utah Trailways Charter Bus Company, LLC, a Utah limited liability company;
       (31)    Casino Caravans, Inc., a Utah corporation;
       (32)    NG Washington II Holdings, LLC, a Delaware limited liability company;
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       (33)    Washington Gaming, Inc, a Washington corporation;
       (34)    NG Washington, LLC, a Washington limited liability company;
       (35)    NG Washington III, LLC, a Washington limited liability company;
       (36)    NG Washington II, LLC, a Washington limited liability company;
       (37)    Evergreen Entertainment Corporation, a Washington corporation;
       (38)    Grand Central Casino, Inc, a Washington corporation;
       (39)    Pair O’Dice Investments, LLC, a Washington limited liability company;
       (40)    Grand Central Properties Tukwila LLC, a Washington limited liability company;
       (41)    Grand Central Properties Tacoma LLC, a Washington limited liability company;
       (42)    Grand Central Properties Everett LLC, a Washington limited liability company;
       (43)    14040 Gaming, LLC, a Washington limited liability company;
       (44)    Gaming Consultants, Inc, a Washington corporation;
       (45)    Gaming Management, Inc, a Washington corporation;
       (46)    Puget Sound Gaming, LLC, a Washington limited liability company;
       (47)    Maverick Kirkland LLC, a Nevada limited liability company;
       (48)    Maverick Kirkland II LLC, a Nevada limited liability company;
       (49)    Maverick Tukwila LLC, a Nevada limited liability company;
       (50)    Riverside Casino, Inc, a Washington corporation;
       (51)    Epstein Gaming, LLC, a Washington limited liability company;
       (52)    La Center Gaming, LLC, a Washington limited liability company;
       (53)    Pete’s Flying Aces, Inc., a Washington limited liability company;
       (54)    Tacoma Casino, LLC, a Washington limited liability company;
       (55)    Maverick Lakewood LLC, a Nevada limited liability company;
       (56)    Maverick Yakima LLC, a Nevada limited liability company;
       (57)    Maverick Poker Operator LLC, a Washington limited liability company;

Licensed Operator Affiliates

       (58)    Wendover Resorts Operator, LLC, a Nevada limited liability company;
       (59)    Elko Resorts Operator, LLC, a Nevada limited liability company;
       (60)    Red Garter Operator, LLC, a Nevada limited liability company;
       (61)    Wendover Nugget Operator, LLC, a Nevada limited liability company;
       (62)    Gold Country Operator, LLC, a Nevada limited liability company;
       (63)    Red Lion Operator, LLC, a Nevada limited liability company;
       (64)    High Desert Operator LLC, a Nevada limited liability company;
       (65)    Colorado Resorts Operator, LLC, a Nevada limited liability company;
       (66)    Johnny Z Casino Operator LLC, a Nevada limited liability company;
       (67)    Grand Z Casino Operator LLC, a Nevada limited liability company; and
       (68)    Z Casino Black Hawk Operator LLC, a Nevada limited liability company;

(each such entity, a “Filing Entity” and, collectively, the “Filing Entities”), do hereby consent to,
adopt and approve, ratify, and confirm by unanimous written consent, in each case pursuant to and
in accordance with (a) the provisions of such Filing Entity’s (i) articles of incorporation, certificate
of formation, or other incorporation or formation document, as applicable, and (ii) bylaws, limited
liability company agreement, or other operating agreement or document, as applicable
(the “Governing Documents”); and (b) the applicable provisions of the applicable corporate or


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business statute, as applicable, the following resolutions and authorize the taking of all actions
contemplated thereby, as applicable (this “Written Consent”):

       WHEREAS, the Approving Party of each Filing Entity has had the opportunity to consult
with management and the legal and financial advisors of such Filing Entity to fully consider, and
has considered, the strategic alternatives available to such Filing Entity;

        WHEREAS, the board of directors or board of managers, as applicable, of certain Maverick
Entities have previously each delegated to a special committee of the respective board (each,
a “Special Committee”), sole and exclusive power and authority to, among other things, consider,
evaluate, and negotiate various strategic alternatives for or on behalf of such entity and its
respective subsidiaries, including, without limitation, an in-court or out-of-court restructuring or
other transaction in an effort to preserve and to maximize the value of such entity and its assets;

        WHEREAS, each Special Committee of the Maverick Entities and each manager of the
Licensed Operator Affiliates has, with the assistance of management, the legal advisors, the
financial advisors, and the investment bankers of the Filing Entities, considered the liabilities and
liquidity of the Filing Entities, the strategic alternatives available to them, and the impact of the
foregoing on the Filing Entities’ businesses, and determined that the actions contemplated hereby
are desirable and in the best interests of each Filing Entity, its respective creditors, and other parties
in interest; and

       WHEREAS, the Approving Party of each Filing Entity desires to adopt and approve the
following resolutions.

I.      Commencement of Chapter 11 Cases

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of each of the Approving
Parties, it is desirable and in the best interests of each of the Filing Entities, their creditors, and
other interested parties, that each of the Filing Entities seek relief under the provisions of chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”); and

        FURTHER RESOLVED, that each Filing Entity is hereby authorized, and Jeff Seery
(the “Authorized Person”) shall be, and hereby is, authorized and directed on behalf of each Filing
Entity to commence a case under chapter 11 of the Bankruptcy Code (a “Chapter 11 Case”) by
executing, verifying and delivering a voluntary petition in the name of such Filing Entity under
Chapter 11 of the Bankruptcy Code and causing the same to be filed with the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) in such form and
at such time as the Authorized Person executing said petition shall determine; and

        FURTHER RESOLVED, that each Filing Entity is hereby authorized, and the Authorized
Person shall be, and hereby is, authorized and directed on behalf of such Filing Entity, to seek to
have its Chapter 11 Case jointly administered by the Bankruptcy Court with the separate cases
commenced by the Filing Entities under Chapter 11 of the Bankruptcy Code (each respective
Chapter 11 Case, together with such other Chapter 11 Cases, collectively, the “Chapter 11
Cases”); and



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        FURTHER RESOLVED, that each Filing Entity is hereby authorized, and the Authorized
Person shall be, and hereby is, authorized and empowered, with full power of delegation, on behalf
of and in the name of such Filing Entity, to execute, verify or file, or cause to be filed or executed
or verified (or direct others to do so on their behalf as provided herein), and to amend, supplement
or otherwise modify from time to time, all necessary or appropriate documents, including, without
limitation, petitions, affidavits, schedules, motions, lists, applications, pleadings and other
documents, agreements and papers, and to take any and all actions that the Authorized Person
deems necessary or appropriate, each in connection with the Chapter 11 Cases; and

        FURTHER RESOLVED, that each Filing Entity is hereby authorized, and the Authorized
Person shall be, and hereby is, authorized and empowered, on behalf of and in the name of such
Filing Entity, to the extent applicable, to obtain debtor-in-possession financing and/or the use of
cash collateral, in such amounts and on such terms as may be agreed by the Authorized Person,
including the grant of replacement liens, as is reasonably necessary for the continuing affairs of
such Filing Entity; and

II.    Debtor-in-Possession Financing

        FURTHER RESOLVED, that in connection with the Chapter 11 Case, the Approving Party
of each Filing Entity has determined that it is in the best interests of each Filing Entity to
consummate the transactions under that the proposed debtor-in-possession credit facility
consisting of a term loan credit facility of up to $22,500,000, or such other amount as determined
necessary by the Authorized Person in consultation with the Professionals (as defined below), on
terms and conditions substantially similar to those set forth in the form of DIP Term Sheet, dated
July 14, 2025 (the “DIP Term Sheet”), previously provided to each Filing Entity (with such
changes as may be approved pursuant to the delegation set forth herein) subject to approval by the
Bankruptcy Court, which is necessary and appropriate to conduct the business of each Filing Entity
(the “DIP Financing”); and

         FURTHER RESOLVED, that the Approving Party of each Filing Entity hereby delegates to
the Authorized Person the authority to approve the form, terms, and provisions of the proposed
credit agreement for the DIP Financing contemplated by the DIP Term Sheet
(the “DIP Credit Agreement”), including the use of proceeds to provide liquidity for such Filing
Entity throughout the Chapter 11 Case and such other uses as described in the DIP Term Sheet,
any and all guarantees, security agreements, pledge agreements, reaffirmations, promissory notes,
fee letters, escrow agreements, letters, notices, certificates, documents, and instruments authorized,
executed, delivered, reaffirmed, verified, and filed, registered, or recorded in connection with the
DIP Financing (collectively, the “DIP Financing Documents”) or that may be necessary,
appropriate, desirable, or advisable in connection with the DIP Credit Agreement and the
transactions contemplated thereby or otherwise contemplated by the DIP Term Sheet and the DIP
Credit Agreement or by any such other DIP Financing Document; and

        FURTHER RESOLVED, that the Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name and on behalf of such Filing Entity, to cause such Filing
Entity to enter into, execute, deliver, certify, file, and record, and perform the obligations arising
under, the DIP Financing Documents, together with such other documents, agreements,



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instruments, and certificates as may be required by the DIP Financing Documents, in accordance
with the terms thereof; and

        FURTHER RESOLVED, that the Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name and on behalf of such Filing Entity, to execute and deliver
any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the DIP Financing Documents and any related documents or
instruments which shall, in the Authorized Person’s sole judgment, be necessary, proper, or
advisable; and

III.   Retention of Professionals

        RESOLVED, that each Filing Entity is hereby authorized, and the Authorized Person shall
be, and hereby is, authorized, directed and empowered, on behalf of and in the name of the relevant
Filing Entity, to employ and retain (a) Latham & Watkins LLP, as bankruptcy co-counsel, (b) GLC
Advisors & Co., LLC and GLC Securities, LLC (together, “GLC”), as investment banker,
(c) Triple P TRS, LLC, as restructuring advisor, (d) Hunton Andrews Kurth LLP, as bankruptcy
co-counsel, (e) KPMG LLP, as tax advisor, and (f) Kroll Restructuring Administration LLC, as
claims, noticing, and solicitation agent (collectively, the “Professionals”), in each case, in
connection with the Chapter 11 Cases; and

       FURTHER RESOLVED, that each Filing Entity is hereby authorized, and the Authorized
Person shall be, and hereby is, authorized, directed and empowered, on behalf of and in the name
of such Filing Entity, to employ and retain such further legal, restructuring, financial, accounting
and bankruptcy services firms as may be deemed necessary or appropriate by the Authorized
Person to assist each Filing Entity in carrying out its responsibilities in the Chapter 11 Cases and
achieving a successful reorganization; and

        FURTHER RESOLVED, that each Filing Entity is hereby authorized, and the Authorized
Person shall be, and hereby is, authorized and empowered, with full power of delegation, in the
name and on behalf such Filing Entity, to take or cause to be taken any and all such further action
and to execute and deliver or cause to be executed or delivered, and to amend, supplement or
otherwise modify from time to time, all such further agreements, documents, certificates,
statements, notices, undertakings and other writings, and to incur and to pay or direct payment of
all such fees and expenses, as in the judgment of the Authorized Person shall be necessary,
appropriate or advisable to effectuate the purpose and intent of any and all of the foregoing
resolutions.

IV.    General Authorization

        RESOLVED, that all acts lawfully done or actions lawfully taken by the Authorized Person
or any of the Professionals in connection with the Chapter 11 Cases or any proceedings or matters
related thereto, be, and hereby are, adopted, ratified, confirmed and approved in all respects as the
acts and deeds of the Filing Entities;

       FURTHER RESOLVED, that any acts of each Filing Entity or of any person or persons
designated and authorized to act by the Approving Party of each Filing Entity, including the
Authorized Person, which acts would have been authorized by the foregoing resolutions except

                                                 5
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that such acts were taken prior to the adoption of such resolutions, are hereby severally ratified,
confirmed, approved and adopted in all respects as acts in the name and on behalf of each Filing
Entity;

        FURTHER RESOLVED, that the Authorized Person is authorized and directed on behalf of
the relevant Filing Entity to do or cause to be done, and to grant such powers of attorney as are
necessary or desirable to do or be done on behalf of such Filing Entity or its subsidiaries, all such
acts or things and to sign and deliver, or cause to be signed and delivered, all such agreements,
documents, instruments and certificates, as such officer or officers may deem necessary, advisable
or appropriate to effectuate or carry out the purposes and intent of the foregoing resolutions and to
perform the obligations of such Filing Entity under the agreements and instruments referred to
therein, with such execution and delivery of such agreements, documents, instruments or
certificates to be conclusive evidence that the form, terms and provisions thereof have been
approved by the Approving Parties;

       FURTHER RESOLVED, that the Authorized Person be, and hereby is, authorized,
empowered, and directed to take any and all further action that he deems necessary, proper, or
advisable to carry out fully the intent and purposes of these resolutions.



                                  *              *               *




                                                 6
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       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

RUNITONETIME HOLDCO, INC.
a Washington corporation

SPECIAL COMMITTEE:

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager
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        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

RUNITONETIME LLC
a Washington limited liability company


MEMBER:

RunItOneTime Holdco, Inc.,
a Washington corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager


By:    ___________________
       Lawrence Perkins
       Manager


By:    ___________________
       Tobias Keller
       Manager


MANAGER:

SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager


By:    ___________________
       Lawrence Perkins
       Manager




                  [Signature Page to Written Consent of RunItOneTime LLC]
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By:   ___________________
      Tobias Keller
      Manager




               [Signature Page to Written Consent of RunItOneTime LLC]
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        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

RUNITONETIME LLC
as Sole Member of
MAVERICK WASHINGTON LLC
MAVERICK COLORADO LLC
MAVERICK NV LLC
MAVERICK DESIGN LLC


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager


By:   ___________________
      Lawrence Perkins
      Manager


By:   ___________________
      Tobias Keller
      Manager



RUNITONETIME LLC
as Manager of
MAVERICK WASHINGTON LLC
MAVERICK COLORADO LLC
MAVERICK NV LLC
MAVERICK DESIGN LLC



SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager




  [Signature Page to Written Consent of Maverick Washington LLC, Maverick Colorado LLC,
                       Maverick NV LLC, and Maverick Design LLC]
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By:   ___________________
      Lawrence Perkins
      Manager


By:   ___________________
      Tobias Keller
      Manager




 [Signature Page to Written Consent of Maverick Washington LLC, Maverick Colorado LLC,
                      Maverick NV LLC, and Maverick Design LLC]
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        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

MAVERICK WASHINGTON LLC
as Sole Member of
MAVERICK GOLD LLC
MAVERICK ROMAN LLC
MAVERICK AMERICAN LLC
MAVERICK INDIANOLA LLC
MAVERICK CARIBBEAN LLC
MAVERICK WIZARDS LLC
MAVERICK EVERGREEN LLC
MAVERICK ALL STAR LLC

By: RunItOneTime LLC, its Manager


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager


By:   ___________________
      Lawrence Perkins
      Manager


By:   ___________________
      Tobias Keller
      Manager


MAVERICK WASHINGTON LLC
as Manager of
MAVERICK GOLD LLC
MAVERICK ROMAN LLC
MAVERICK AMERICAN LLC
MAVERICK INDIANOLA LLC
MAVERICK CARIBBEAN LLC
MAVERICK WIZARDS LLC
MAVERICK EVERGREEN LLC
MAVERICK ALL STAR LLC


      [Signature Page to Written Consent of Maverick Gold LLC, Maverick Roman LLC,
        Maverick American LLC, Maverick Indianola LLC, Maverick Caribbean LLC,
        Maverick Wizards LLC, Maverick Evergreen LLC, and Maverick All Star LLC]
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By: RunItOneTime LLC, its Manager


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager


By:   ___________________
      Lawrence Perkins
      Manager


By:   ___________________
      Tobias Keller
      Manager




  [Written Consent of Maverick Gold LLC, Maverick Roman LLC, Maverick American LLC,
         Maverick Indianola LLC, Maverick Caribbean LLC, Maverick Wizards LLC,
                   Maverick Evergreen LLC, and Maverick All Star LLC]
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        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

MAVERICK COLORADO LLC
as Sole Member of
MAVERICK Z CASINOS LLC

By: RunItOneTime LLC, its Manager


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager


By:   ___________________
      Lawrence Perkins
      Manager


By:   ___________________
      Tobias Keller
      Manager


MAVERICK COLORADO LLC
as Manager of
MAVERICK Z CASINOS LLC

By: RunItOneTime LLC, its Manager


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager


By:   ___________________
      Lawrence Perkins
      Manager




              [Signature Page to Written Consent of Maverick Z Casinos LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 26 of 82




By:   ___________________
      Tobias Keller
      Manager




            [Signature Page to Written Consent of Maverick Z Casinos LLC]
         Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 27 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

MAVERICK NV LLC
as Sole Member of
MAVERICK ELKO LLC
MAVERICK WENDOVER LLC

By: RunItOneTime LLC, its Manager


SPECIAL COMMITTEE

By:      ___________________
         Steve McCall
         Manager


By:      ___________________
         Lawrence Perkins
         Manager


By:      ___________________
         Tobias Keller
         Manager


MAVERICK NV LLC
as Manager of
MAVERICK ELKO LLC
MAVERICK WENDOVER LLC

By: RunItOneTime LLC, its Manager


SPECIAL COMMITTEE

By:      ___________________
         Steve McCall
         Manager


By:      ___________________
         Lawrence Perkins
         Manager


      [Signature Page to Written Consent of Maverick Elko LLC and Maverick Wendover LLC]
         Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 28 of 82




By:      ___________________
         Tobias Keller
         Manager




      [Signature Page to Written Consent of Maverick Elko LLC and Maverick Wendover LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 29 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

MAVERICK DESIGN LLC
as Sole Member of
E.GADS, LLC


By: RunItOneTime LLC, its Manager


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager


By:   ___________________
      Lawrence Perkins
      Manager


By:   ___________________
      Tobias Keller
      Manager




MAVERICK DESIGN LLC
as Manager of
E.GADS, LLC


By: RunItOneTime LLC, its Manager


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager




                    [Signature Page to Written Consent of E.Gads, LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 30 of 82




By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager




                 [Signature Page to Written Consent of E.Gads, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 31 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

NEVADA GOLD & CASINOS, INC.
a Nevada corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager


By:    ___________________
       Lawrence Perkins
       Manager


By:    ___________________
       Tobias Keller
       Manager




             [Signature Page to Written Consent of Nevada Gold & Casinos, Inc.]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 32 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

MAVERICK ROMAN LLC
as Sole Member of
SKYWAY CENTER LLC
THE ROYAL CLUB LIMITED LIABILITY COMPANY

By: Maverick Washington LLC, its Manager


      By: RunItOneTime LLC, its Manager


      SPECIAL COMMITTEE

      By:    ___________________
             Steve McCall
             Manager


      By:    ___________________
             Lawrence Perkins
             Manager


      By:    ___________________
             Tobias Keller
             Manager


MAVERICK ROMAN LLC
as Manager of
SKYWAY CENTER LLC
THE ROYAL CLUB LIMITED LIABILITY COMPANY

By: Maverick Washington LLC, its Manager


      By: RunItOneTime LLC, its Manager


      SPECIAL COMMITTEE

      By:    ___________________
             Steve McCall
               [Signature Page to Written Consent of Skyway Center LLC and
                        The Royal Club Limited Liability Company]
Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 33 of 82




      Manager


By:   ___________________
      Lawrence Perkins
      Manager


By:   ___________________
      Tobias Keller
      Manager




       [Signature Page to Written Consent of Skyway Center LLC and
                The Royal Club Limited Liability Company]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 34 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

GREAT AMERICAN GAMING CORPORATION
a Washington corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager


By:    ___________________
       Lawrence Perkins
       Manager


By:    ___________________
       Tobias Keller
       Manager




         [Signature Page to Written Consent of Great American Gaming Corporation]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 35 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

MAVERICK WIZARDS LLC
as Sole Member of
15743 AMBAUM LLC

By: Maverick Washington LLC, its Manager


      By: RunItOneTime, LLC, its Manager


      SPECIAL COMMITTEE

      By:    ___________________
             Steve McCall
             Manager


      By:    ___________________
             Lawrence Perkins
             Manager


      By:    ___________________
             Tobias Keller
             Manager


MAVERICK WIZARDS LLC
as Manager of
15743 AMBAUM LLC

By: Maverick Washington LLC, its Manager


      By: RunItOneTime, LLC, its Manager


      SPECIAL COMMITTEE

      By:    ___________________
             Steve McCall
             Manager



                [Signature Page to Written Consent of 15743 Ambaum LLC]
Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 36 of 82




By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager




        [Signature Page to Written Consent of 15743 Ambaum LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 37 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

MAVERICK ACQUISITIONS CANADA ULC
a British Columbia unlimited liability company


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager


By:    ___________________
       Lawrence Perkins
       Manager


By:    ___________________
       Tobias Keller
       Manager




          [Signature Page to Written Consent of Maverick Acquisitions Canada ULC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 38 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

MAVERICK ALL STAR LLC
as Sole Member of
MYERS LLC

By: Maverick Washington LLC, its Manager


      By: RunItOneTime LLC, its Manager


      SPECIAL COMMITTEE


      By:    ___________________
             Steve McCall
             Manager


      By:    ___________________
             Lawrence Perkins
             Manager


      By:    ___________________
             Tobias Keller
             Manager


MAVERICK ALL STAR LLC
as Manager of
MYERS LLC

By: Maverick Washington LLC, its Manager


      By: RunItOneTime LLC, its Manager


      SPECIAL COMMITTEE


      By:    ___________________
             Steve McCall


                    [Signature Page to Written Consent of Myers LLC]
Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 39 of 82




      Manager



By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager




            [Signature Page to Written Consent of Myers LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 40 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Member, have executed this Written Consent as of
the date first written above.

COLORADO MG 1031 LLC
a Colorado limited liability company

MEMBER:

Maverick Z Casinos LLC,
a Nevada limited liability company


By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager



MANAGER:

SPECIAL COMMITTEE


By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager




                [Signature Page to Written Consent of Colorado MG 1031 LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 41 of 82




By:   ___________________
      Tobias Keller
      Manager




             [Signature Page to Written Consent of Colorado MG 1031 LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 42 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Member, have executed this Written Consent as of
the date first written above.

CCI LEASING LLC
a Utah limited liability company


MEMBER:

Maverick Wendover LLC


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager


MANAGER:

SPECIAL COMMITTEE


By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



                   [Signature Page to Written Consent of CCI Leasing LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 43 of 82




By:   ___________________
      Tobias Keller
      Manager




               [Signature Page to Written Consent of CCI Leasing LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 44 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Member, have executed this Written Consent as of
the date first written above.

WENDOVER TRANSPORTATION LLC
a Nevada limited liability company


MEMBER:

Maverick Wendover LLC


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager



By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager


MANAGER:

SPECIAL COMMITTEE


By:   ___________________
      Steve McCall
      Manager



By:   ___________________
      Lawrence Perkins
      Manager



            [Signature Page to Written Consent of Wendover Transportation LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 45 of 82




By:   ___________________
      Tobias Keller
      Manager




          [Signature Page to Written Consent of Wendover Transportation LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 46 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Member, have executed this Written Consent as of
the date first written above.

UTAH TRAILWAYS CHARTER BUS COMPANY, LLC
a Utah limited liability company


MEMBER:

Wendover Transportation LLC,
a Nevada limited liability company


By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager


MANAGER:

SPECIAL COMMITTEE


By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager




      [Signature Page to Written Consent of Utah Trailways Charter Bus Company, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 47 of 82




By:   ___________________
      Tobias Keller
      Manager




      [Signature Page to Written Consent of Utah Trailways Charter Bus Company, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 48 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

CASINO CARAVANS, INC.
a Utah corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




                [Signature Page to Written Consent of Casino Caravans, Inc.]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 49 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

NEVADA GOLD & CASINOS, INC.
as Sole Member of
NG WASHINGTON II HOLDINGS, LLC
NG WASHINGTON, LLC
NG WASHINGTON III, LLC


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager



By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager




NEVADA GOLD & CASINOS, INC.
as Manager of
NG WASHINGTON II HOLDINGS, LLC
NG WASHINGTON, LLC
NG WASHINGTON III, LLC


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager




[Signature Page to Written Consent of NG Washington II Holdings, LLC, NG Washington, LLC,
                               and NG Washington III, LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 50 of 82




By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager




[Signature Page to Written Consent of NG Washington II Holdings, LLC, NG Washington, LLC,
                               and NG Washington III, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 51 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

NG WASHINGTON II HOLDINGS, LLC
as Sole Member of
NG WASHINGTON II, LLC

By: Nevada Gold & Casinos, Inc., its Manager


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




NG WASHINGTON II HOLDINGS, LLC
as Sole Manager of
NG WASHINGTON II, LLC

By: Nevada Gold & Casinos, Inc., its Manager


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager




               [Signature Page to Written Consent of NG Washington II, LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 52 of 82




By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager




             [Signature Page to Written Consent of NG Washington II, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 53 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

WASHINGTON GAMING, INC.
a Washington corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




               [Signature Page to Written Consent of Washington Gaming, Inc.]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 54 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

EVERGREEN ENTERTAINMENT CORPORATION
a Washington corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




         [Signature Page to Written Consent of Evergreen Entertainment Corporation]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 55 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

GRAND CENTRAL CASINO, INC.
a Washington corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




              [Signature Page to Written Consent of Grand Central Casino, Inc.]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 56 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

GREAT AMERICAN GAMING CORPORATION
as Sole Member of
PAIR O’ DICE INVESTMENTS LLC
GRAND CENTRAL PROPERTIES EVERETT LLC
GRAND CENTRAL PROPERTIES TACOMA LLC
GRAND CENTRAL PROPERTIES TUKWILA LLC



SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager



By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager



GREAT AMERICAN GAMING CORPORATION
as Manager of
PAIR O’ DICE INVESTMENTS LLC
GRAND CENTRAL PROPERTIES EVERETT LLC
GRAND CENTRAL PROPERTIES TACOMA LLC
GRAND CENTRAL PROPERTIES TUKWILA LLC


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager
[Signature Page to Written Consent of Pair O’Dice Investments LLC, Grand Central Properties
                  Everett LLC, Grand Central Properties Tacoma, LLC, and
                           Grand Central Properties Tukwila LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 57 of 82




By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager




[Signature Page to Written Consent of Pair O’Dice Investments LLC, Grand Central Properties
                  Everett LLC, Grand Central Properties Tacoma, LLC, and
                           Grand Central Properties Tukwila LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 58 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

WASHINGTON GAMING, INC.
as Sole Member of
14040 GAMING, LLC
PUGET SOUND GAMING, LLC


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager



By:   ___________________
      Lawrence Perkins
      Manager



By:   ___________________
      Tobias Keller
      Manager



WASHINGTON GAMING, INC.
as Manager of
14040 GAMING, LLC
PUGET SOUND GAMING, LLC


SPECIAL COMMITTEE

By:   ___________________
      Steve McCall
      Manager



By:   ___________________
      Lawrence Perkins
      Manager


  [Signature Page to Written Consent of 14040 Gaming, LLC and Puget Sound Gaming, LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 59 of 82




By:   ___________________
      Tobias Keller
      Manager




  [Signature Page to Written Consent of Maverick Kirkland LLC, Maverick Kirkland II LLC,
        Maverick Tukwila LLC, Maverick Lakewood LLC, and Maverick Yakima LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 60 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

GAMING CONSULTANTS, INC.
a Washington corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




               [Signature Page to Written Consent of Gaming Consultants, Inc.]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 61 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

GAMING MANAGEMENT, INC.
a Washington corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




              [Signature Page to Written Consent of Gaming Management, Inc.]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 62 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

MAVERICK CARIBBEAN LLC
as Sole Member of
MAVERICK KIRKLAND LLC
MAVERICK KIRKLAND II LLC
MAVERICK TUKWILA LLC
MAVERICK LAKEWOOD LLC
MAVERICK YAKIMA LLC

By: Maverick Washington LLC, its Manager


      By: RunItOneTime LLC, its Manager


      SPECIAL COMMITTEE

      By:    ___________________
             Steve McCall
             Manager



      By:    ___________________
             Lawrence Perkins
             Manager



      By:    ___________________
             Tobias Keller
             Manager


MAVERICK CARIBBEAN LLC
as Manager of
MAVERICK KIRKLAND LLC
MAVERICK KIRKLAND II LLC
MAVERICK TUKWILA LLC
MAVERICK LAKEWOOD LLC
MAVERICK YAKIMA LLC

By: Maverick Washington LLC, its Manager


  [Signature Page to Written Consent of Maverick Kirkland LLC, Maverick Kirkland II LLC,
        Maverick Tukwila LLC, Maverick Lakewood LLC, and Maverick Yakima LLC]
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    By: RunItOneTime LLC, its Manager


    SPECIAL COMMITTEE

    By:    ___________________
           Steve McCall
           Manager



    By:    ___________________
           Lawrence Perkins
           Manager



    By:    ___________________
           Tobias Keller
           Manager




[Signature Page to Written Consent of Maverick Kirkland LLC, Maverick Kirkland II LLC,
      Maverick Tukwila LLC, Maverick Lakewood LLC, and Maverick Yakima LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 64 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

RIVERSIDE CASINO, INC.
a Washington corporation


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




                [Signature Page to Written Consent of Riverside Casino, Inc.]
         Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 65 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

PUGET SOUND GAMING, LLC
as Sole Member of
LA CENTER GAMING, LLC
TACOMA CASINO L.L.C.
EPSTEIN GAMING, LLC


By: Washington Gaming, Inc., its Manager


SPECIAL COMMITTEE

By:     ___________________
        Steve McCall
        Manager



By:     ___________________
        Lawrence Perkins
        Manager



By:     ___________________
        Tobias Keller
        Manager



PUGET SOUND GAMING, LLC
as Manager of
LA CENTER GAMING, LLC
TACOMA CASINO L.L.C.
EPSTEIN GAMING, LLC


By: Washington Gaming, Inc., its Manager


SPECIAL COMMITTEE

By:     ___________________
      [Signature Page to Written Consent of La Center Gaming, LLC, Tacoma Casino L.L.C.,
                                     Epstein Gaming, LLC]
         Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 66 of 82




        Steve McCall
        Manager



By:     ___________________
        Lawrence Perkins
        Manager



By:     ___________________
        Tobias Keller
        Manager




      [Signature Page to Written Consent of La Center Gaming, LLC, Tacoma Casino L.L.C.,
                                     Epstein Gaming, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 67 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee, have executed this Written Consent as of the date first written above.

PETE’S FLYING ACES, INC.
a Washington limited liability company

SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager




                [Signature Page to Written Consent of Pete’s Flying Aces, Inc.]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 68 of 82




       IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Member, have executed this Written Consent as of
the date first written above.

MAVERICK POKER OPERATOR LLC
a Washington limited liability company


MEMBER:

RunItOneTime LLC
a Washington limited liability company


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager


MANAGER:


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager


            [Signature Page to Written Consent of Maverick Poker Operator LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 69 of 82




By:   ___________________
      Tobias Keller
      Manager




          [Signature Page to Written Consent of Maverick Poker Operator LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 70 of 82




        IN WITNESS WHEREOF, the undersigned, in their capacity as members of the
Special Committee and on behalf of the Sole Member, have executed this Written Consent
as of the date first written above.

RUNITONETIME TEXAS LLC
a Texas limited liability company


MEMBER:

RunItOneTime LLC,
a Washington limited liability company


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager



By:    ___________________
       Tobias Keller
       Manager


MANAGER:


SPECIAL COMMITTEE

By:    ___________________
       Steve McCall
       Manager



By:    ___________________
       Lawrence Perkins
       Manager


               [Signature Page to Written Consent of RunItOneTime Texas LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 71 of 82




By:   ___________________
      Tobias Keller
      Manager




            [Signature Page to Written Consent of RunItOneTime Texas LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 72 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

WENDOVER RESORTS OPERATOR, LLC
a Nevada limited liability company

MEMBER:


By:   ___________________
      Eric Persson
      Manager



MANAGER:


By:   ___________________
      Eric Persson
      Manager




          [Signature Page to Written Consent of Wendover Resorts Operator, LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 73 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

ELKO RESORTS OPERATOR, LLC
a Nevada limited liability company


MEMBER:


By:   ___________________
      Eric Persson
      Manager



MANAGER:


By:   ___________________
      Eric Persson
      Manager




            [Signature Page to Written Consent of Elko Resorts Operator, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 74 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

RED GARTER OPERATOR, LLC
a Nevada limited liability company


MEMBER:

Wendover Resorts Operator, LLC
a Nevada limited liability company


By:    ___________________
       Eric Persson
       Manager


MANAGER:


By:    ___________________
       Eric Persson
       Manager




              [Signature Page to Written Consent of Red Garter Operator, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 75 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

WENDOVER NUGGET OPERATOR, LLC
a Nevada limited liability company


MEMBER:

Wendover Resorts Operator, LLC
a Nevada limited liability company


By:    ___________________
       Eric Persson
       Manager


MANAGER:


By:    ___________________
       Eric Persson
       Manager




           [Signature Page to Written Consent of Wendover Nugget Operator, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 76 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

GOLD COUNTRY OPERATOR, LLC
a Nevada limited liability company


MEMBER:

Elko Resorts Operator, LLC
a Nevada limited liability company


By:    ___________________
       Eric Persson
       Manager


MANAGER:


By:    ___________________
       Eric Persson
       Manager




             [Signature Page to Written Consent of Gold Country Operator, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 77 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

RED LION OPERATOR, LLC
a Nevada limited liability company


MEMBER:

Elko Resorts Operator, LLC
a Nevada limited liability company


By:    ___________________
       Eric Persson
       Manager


MANAGER:


By:    ___________________
       Eric Persson
       Manager




               [Signature Page to Written Consent of Red Lion Operator, LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 78 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

HIGH DESERT OPERATOR LLC
a Nevada limited liability company


MEMBER:

Elko Resorts Operator, LLC
a Nevada limited liability company


By:    ___________________
       Eric Persson
       Manager


MANAGER:


By:    ___________________
       Eric Persson
       Manager




              [Signature Page to Written Consent of High Desert Operator LLC]
      Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 79 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

COLORADO RESORTS OPERATOR, LLC
a Nevada limited liability company


MEMBER:


By:   ___________________
      Eric Persson
      Manager



MANAGER:


By:   ___________________
      Eric Persson
      Manager




          [Signature Page to Written Consent of Colorado Resorts Operator LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 80 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

JOHNNY Z CASINO OPERATOR LLC
a Nevada limited liability company


MEMBER:

Colorado Resorts Operator, LLC
a Nevada limited liability company


By:    ___________________
       Eric Persson
       Manager


MANAGER:


By:    ___________________
       Eric Persson
       Manager




            [Signature Page to Written Consent of Johnny Z Casino Operator LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 81 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

GRAND Z CASINO OPERATOR LLC
a Nevada limited liability company


MEMBER:

Colorado Resorts Operator, LLC
a Nevada limited liability company


By:    ___________________
       Eric Persson
       Manager


MANAGER:


By:    ___________________
       Eric Persson
       Manager




            [Signature Page to Written Consent of Grand Z Casino Operator LLC]
       Case 25-90191 Document 1 Filed in TXSB on 07/14/25 Page 82 of 82




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of
the date first written above.

Z CASINO BLACK HAWK OPERATOR LLC
a Nevada limited liability company


MEMBER:

Colorado Resorts Operator, LLC
a Nevada limited liability company


By:    ___________________
       Eric Persson
       Manager


MANAGER:


By:    ___________________
       Eric Persson
       Manager




          [Signature Page to Written Consent of Z Casino Black Hawk Operator LLC]
